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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

QUINTEZ CEPHUS,

             Plaintiff,

      v.                                      Case No. 3:21-cv-0126

BOARD OF REGENTS OF THE
UNIVERSITY OF WISCONSIN SYSTEM,
LAUREN HASSELBACHER, in her
individual and official capacity, and
REBECCA BLANK, in her individual
and official capacity,

             Defendants.

_____________________________________________________________________________________

           MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
              MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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                                         INTRODUCTION

       Plaintiff Quintez Cephus hereby submits this memorandum of law in opposition to the

motion to dismiss Plaintiff’s Complaint (ECF No. 10, hereinafter “Moving Br.”) filed by

Defendants, Board of Regents of the University of Wisconsin System (“UW-Madison” or “the

University”), Lauren Hasselbacher (“Hasselbacher”), and Rebecca Blank (“Blank”) (collectively

“Defendants”).

       As set forth in substantial detail in Plaintiff’s sixty-six-page complaint, Defendants

subjected Plaintiff to a gender-biased, fundamentally unfair disciplinary process that violated Title

IX of the Education Amendments of 1972, deprived Plaintiff of his Constitutional Due Process

rights, and violated the written policies of the University. Defendants intentionally ignore or

misrepresent large portions of the Complaint providing considerable factual detail and instead

cherry-pick a handful of allegations which they attempt to isolate from the totality of the

circumstances and claim are insufficient on their own. Such a tactic is unavailing at this stage in

the litigation. The Complaint, and the facts alleged therein, taken as a whole and viewed in the

light most favorable to Plaintiff, as they must be, sufficiently set forth factual allegations providing

a plausible basis for the causes of action alleged.

        Defendants assert multiple times throughout their motion that Plaintiff “pled himself out

of court.” However, Defendants miss the mark. Defendants attempt to argue facts that are not in

the Complaint in order to dispute the allegations therein, which is not permitted at this stage in the

litigation. Based on the allegations contained in the Complaint, which are presumed to be true for

the purposes of a Fed. R. Civ. P. 12(b)(6) motion, Plaintiff has adequately pleaded violations of

the Due Process Clause of the United Stated Constitution, Title IX of the Education Amendments
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of 1972, as well as state law breach of contract and promissory estoppel. Defendants’ motion

should be denied.

                                   STATEMENT OF FACTS

       A full accounting of the facts underlying Plaintiff’s claims can be found in the Complaint.

For the court’s convenience, the pertinent facts are as follows:

A.     Plaintiff’s Background.
       Plaintiff grew up in a disadvantaged area of Macon, Georgia, and was raised by a single

mother and grandmother alongside two siblings. Compl. ¶ 97. Plaintiff attended an

underperforming public school and, due to his quiet demeanor and eagerness to learn, his school

guidance counselor felt that he would be hindered by the school’s culture and educational

opportunities and suggested that he apply to a college preparatory school. Id. Plaintiff’s mother

worked two jobs and often had no other option but to drop Plaintiff off at school late, so the

preparatory school’s basketball coach took Plaintiff under his wing and picked Plaintiff up for

school every day at 6:00 a.m., which allowed him to excel both academically and athletically.

Compl. ¶ 98. Plaintiff’s exceptional athletic abilities were noticed by UW-Madison, and Plaintiff

was recruited to be a wide receiver for the University’s football team with the class of 2020.

Compl. ¶ 99.

       While attending UW-Madison, and until Complainant 1 and Complainant 2 (the

“Complainants”) falsely accused him of sexual misconduct, Plaintiff had a bright future ahead,

projected to be a high pick in the National Football League (“NFL”) draft. Compl. ¶¶ 1-2, 97-100.

Plaintiff’s aspirations were sidelined, however, when UW-Madison wrongly found him

responsible for sexual assault and sexual harassment relating to a consensual sexual encounter that

the Complainants apparently later regretted. Compl. ¶¶ 118, 198. As a result of the University’s

deficient, gender-biased, and deliberately one-sided disciplinary process, which violated its own

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policies and state and federal regulations, Plaintiff was expelled from the University, hindering his

ability to practice and compete with the University’s football team, thereby impacting his position

in the NFL draft. Compl. ¶ 198.

B.     The Night of April 21-22, 2018.
       On April 21, 2018, Plaintiff went bowling with two of his teammates, Teammate 1 and

Teammate 2. Compl. ¶ 102. Teammate 1 brought along Complainant 1, who he was “on-again,

off-again” dating. Id. While bowling, Complainant 1 insisted upon “setting up” Plaintiff with her

friend, Complainant 2, and Teammate 2 with her other friend, Friend 1. Id. Later that night,

Complainant 1 and Plaintiff exchanged Instagram messages and text messages, arranging for

Complainant 1 and her friends to meet Plaintiff and Teammate 2 at a local bar. Compl. ¶ 103.

When they met at the bar, Complainant 2 was immediately drawn to Plaintiff and was extremely

physical with him, telling him to kiss her in the bar, which he refused to do, and trying to put her

hand down Plaintiff’s pants. Friend 1 also spent time with Teammate 2, leaving Complainant 1 by

herself. Compl. ¶¶ 104-105. Complainant 1 texted Teammate 1 multiple times trying to get him to

come to the bar, but he stood her up. Given Teammate 1’s past of not remaining loyal to

Complainant 1, she was, on information and belief, upset that Teammate 1 was once again cheating

on her. Compl. ¶¶ 104.

       Complainant 2 then suggested that they go have a “sleepover,” so Plaintiff, Complainant 2,

Complainant 1, Teammate 2, and Friend 1 left the bar and Plaintiff drove them back to Plaintiff

and Teammate 2’s apartment. Compl. ¶¶ 105-106. While leaving the bar and upon arrival at

Plaintiff’s apartment, Complainant 1 and Complainant 2 were fully awake and oriented, lively,

coherent, able to walk with steady gait, did not stumble, and did not appear incapacitated in any

way. Compl. ¶ 106. Indeed, Complainant 1 was even able to give Teammate 2, a six-foot tall

football player, a piggyback ride without stumbling. Compl. ¶ 106. Additionally, while walking

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ahead of the group and holding hands with Plaintiff, Complainant 2 looked back at Complainant

1 and Friend 1 and made a “victory” sign with her hand as they headed to Plaintiff’s apartment.

Compl. ¶ 106.

       Upon entering Plaintiff’s apartment, Plaintiff showed Complainant 1 and Complainant 2

around, and Friend 1 went with Teammate 2 into Teammate 2’s room. Compl. ¶ 107. Complainant

2 walked into Plaintiff’s room and gestured with her hand for Plaintiff to come in. Id. Complainant

1 was going to be by herself in the living room if Plaintiff went into his room with Complainant 2,

so Plaintiff asked Complainant 1 if she wanted to come into his room. Id. Plaintiff then walked

into his room and Complainant 1 freely followed. Id. Complainant 1 and Complainant 2 proceeded

to remove their own clothes, and both engaged in sexual intercourse with Plaintiff. Compl. ¶ 108.

Both Complainant 1 and Complainant 2 were active participants and asked Plaintiff to retrieve a

condom before engaging in intercourse, and Plaintiff put on a new condom before he had

intercourse with Complainant 1 and Complainant 2.

       After the encounter, Roommate 2 came to Plaintiff’s room and took a picture of the two

girls in Plaintiff’s room. Compl. ¶ 111. Complainant 1 immediately got up and began yelling at

Roommate 2 and Plaintiff about the photo. Compl. ¶ 112. Complainant 1 then meticulously showed

Plaintiff and Teammate 2 how to delete the photo from the “recently deleted” folder on the phone,

clearly aware of her surroundings and in full control of her faculties. Compl. ¶ 114.

       Complainant 1, apparently upset and embarrassed at her own infidelity to Teammate 1, and

jealous that Plaintiff was giving Complainant 2 more attention, then left the room, stating that

Plaintiff and Teammate 2 were going to think she was a “slut;” Plaintiff told her to calm down.

Compl. ¶ 115-116. Complainant 1 then urged Complainant 2 to get out of Plaintiff’s bed by pulling

her arm and saying, “are you going to have sex with someone that just talked to me like that?”



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Compl. ¶ 117. Complainant 1 and Complainant 2 then got into an argument, which was not

uncommon in their friendship dynamic, and this argument prompted Complainant 2 to get out of

Plaintiff’s bed and leave. Compl. ¶ 118. Complainant 2, despite later claims of being incapacitated,

was able to navigate a steep and winding back staircase out of Plaintiff’s apartment, find her way

back to the street, and order herself an Uber to her dorm room utilizing a smartphone application.

Compl. ¶ 119. Notably, Complainant 1 chose to voluntarily stay in Plaintiff’s apartment. Id.

       Plaintiff was concerned about Complainant 2 and searched his apartment building to find

her. Compl. ¶ 120. When Plaintiff could not find Complainant 2, he advised Complainant 1, Friend

1, and Roommate 2 that they needed to leave. Compl. ¶ 121. Plaintiff and Roommate 2 then drove

Complainant 1 and Friend 1 back to their dorm rooms, looking for Complainant 2 to make sure

that she was not walking alone on the street. Compl. ¶¶ 121-122. Friend 1 lived in the same dorm

room as Complainant 2, so she took Plaintiff and Roommate 2 to Complainant 2’s room to ensure

that Complainant 2 made it home safely. Compl. ¶ 123. Complainant 2 was in her room, and she

spoke with Plaintiff for a few minutes before exchanging phone numbers with him, upon which

she texted him a heart and a kiss face emoji. Compl. ¶ 123.

       When Complainant 1 arrived back at her dorm however, she was visibly upset following

her argument with Complainant 2. Compl. ¶ 124. A student who lived on the same floor

approached Complainant 1 in the hallway, and initially Complainant 1 said that nothing was

wrong, but after being pried for information by the student, she eventually fabricated that she had

been sexually assaulted by Plaintiff. Id. The student then called the police himself, and the police

drove Complainant 1 to the hospital for a sexual assault examination. Compl. ¶¶ 124-125. When

Complainant 1 was in the hospital, she texted Complainant 2 a string of text messages, claiming




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that Plaintiff had sexually assaulted both of them, and eventually convinced Complainant 2 to go

along with her story. Compl. ¶ 128.

       On April 22, 2018, the Madison Police Department executed a search warrant of Plaintiff’s

apartment and informed him that the Complainants accused him of sexually assaulting them the

night prior. Compl. ¶ 130. The next day, on April 23, 2018, Complainant 1’s father contacted the

University, alleging that Plaintiff had sexually assaulted his daughter. Compl. ¶ 131. Plaintiff

retained criminal defense attorney Stephen Meyer (“Meyer”) on April 27, 2018. Compl. ¶ 133.

       On May 24, 2018, over one month after the alleged incident, Complainant 1 submitted a

written statement to the University alleging that Plaintiff sexually assaulted her. Compl. ¶ 136.

The statement contained the incorrect date of the alleged incident. Id. Complainant 2 did not submit

a statement to the University, but rather, Hasselbacher merely showed Complainant 2 the statement

that Complainant 1 wrote and asked Complainant 2 to “confirm the accuracy of the statement to

the best of her recollection.” Compl. ¶¶ 136-137. Plaintiff did not receive formal notice of the

allegations from the University until May 28, 2018, five full weeks after the University first

became aware of the allegations against Plaintiff. Compl. ¶ 138.

       On June 6, 2018, Meyer advised Defendant Hasselbacher of critical, exculpatory

information obtained by law enforcement, but which was no yet available to Plaintiff, including

toxicology reports, security camera footage, a forensic examination of Plaintiff’s phone, and the

results of the search warrant of Plaintiff’s apartment. Compl. ¶ 145. Hasselbacher stated that while

Plaintiff could provide relevant information to the investigation, her intention was to interview

Plaintiff “when [she was] nearing the conclusion of the investigation,” treating Plaintiff’s

statement as a mere afterthought. Id. Accordingly, Plaintiff requested that Hasselbacher stay the

proceedings until the close of the criminal matter as the evidence obtained in that matter would be



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critical to the University proceedings as well. Compl. ¶ 159. However, the University refused to

stay the proceedings and continued with the investigation, despite Plaintiff’s inability to fully

participate in the investigation, as speaking to the University investigators would force Plaintiff to

abdicate his Fifth Amendment rights in the concurrent criminal matter, the consequences of which

were obviously much more serious than a University proceeding. Compl. ¶¶ 160-163.

          On or around October 9, 2018, Defendant Hasselbacher issued the Final Investigative

Report and provided it to the Office of Student Conduct and Community Standards for decision-

making. Compl. ¶ 171. Notably, the Final Investigative Report was one-sided and created solely

to garner a finding of responsibility against Plaintiff. For example, Defendant Hasselbacher felt it

appropriate to attach the Dane County Criminal Court Complaint - a document that was not created

by the University, was created for the express purpose of prosecuting Plaintiff, and was

deliberately written to include only inculpatory evidence in order to initiate the criminal

proceedings. Compl. ¶¶ 172-173. At the same time, Defendant Hasselbacher refused to

accommodate Plaintiff’s request to attach his Motion to Dismiss the Criminal Complaint and the

accompanying documents submitted on Plaintiff’s behalf in the criminal proceeding.

Compl. ¶ 174. Additionally, Hasselbacher allowed the Complainants to cherry-pick evidence to be

included in the report, including blatantly incomplete text message strings, but never asked the

Complainants for their phone records, which would have clearly shown them collaborating on their

claims and also would have undermined their version of events from the night in question. Compl.

¶ 282.

          On October 30, 2018, based on the completely one-sided and deliberately skewed

investigative report, Assistant Dean Ervin Cox issued a letter finding it more likely than not that

Plaintiff was responsible for sexual assault and sexual harassment regarding both Complainants.



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Compl. ¶ 177. According to the finding letter, Cox enlisted two unidentified colleagues to review

and analyze the Final Investigative Report with him and reach the determination of responsibility,

in violation of University Policy. Compl. ¶ 178. The matter was then referred to a hearing.

       Plaintiff requested that the hearing take place during the Spring semester, rather than over

winter break. Compl. ¶ 181. However, Cox stated that the Complainants did not want to wait until

the Spring semester and unilaterally elevated their wishes over Plaintiff’s, in direct contravention

to University policy. Compl. ¶ 182. Cox then scheduled the hearing for January 15, 2019, a date

on which Plaintiff’s chosen advisor would not be available; Cox then refused to reschedule the

hearing for a date when Plaintiff would be able to attend with his advisor. Compl. ¶ 183. Because

of the University’s deliberate scheduling of the hearing on a date when Plaintiff’s Title IX advisor

was not available, Plaintiff had to scramble to have someone else appear at the hearing with him,

and ended up asking one of his criminal attorneys to step in. Compl. ¶ 185. As his counsel made

clear to the Panel, however, she was not familiar with the Title IX process. Compl. ¶ 186. Further,

the University, without notice, reneged on a previous agreement with Plaintiff to permit him to

have a support person at the hearing separate from his advisor. Compl. ¶ 188. In sum, the

University deliberately scheduled the hearing to accommodate only the girls’ requests and

preclude Plaintiff from receiving the assistance and support that he was promised and entitled to.

       The University further hamstrung Plaintiff’s defense and violated its own policies and

relevant state regulations by refusing to permit his attorney to cross-examine the witnesses. Compl.

¶¶ 186-191. Instead, they directed Plaintiff’s counsel to submit her questions through the hearing

Chairperson, who then materially altered the questions and presented them in a way that directly

instructed the Complainants on how to best answer in order to prove their claims. Compl. ¶¶ 191-




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194. Additionally, throughout the hearing, Cox repeatedly cited to the Criminal Court Complaint,

despite its obviously skewed and one-sided nature. Compl. ¶ 189.

       As a result of the University’s biased and flawed investigation and hearing, the hearing

panel found Plaintiff responsible for sexual assault and sexual harassment with respect to both

Complainants and Plaintiff was expelled from the University. Compl. ¶ 198. Plaintiff timely filed

an appeal to Defendant Blank, however, Blank merely rubberstamped the findings of the hearing

panel. Compl. ¶¶ 199-200. Plaintiff submitted a request for review to the Board, which was

summarily denied. Compl. ¶¶ 201-202.

C.     UW-Madison admits its mistake
       On August 2, 2019, after a week-long criminal trial in which Plaintiff was able to present

the extensive, material, exculpatory evidence—which the University previously knew existed, but

refused to wait for—Plaintiff was acquitted on all charges. Compl. ¶¶ 205-206. In fact, the

evidence so plainly demonstrated Plaintiff’s innocence that the jury deliberation only took a mere

thirty minutes. Compl. ¶ 206.

       Following the acquittal, Plaintiff petitioned the University for readmission. Compl. ¶ 208.

Faced with the abundant evidence clearly demonstrating Plaintiff’s innocence, and that the girls

had fabricated their story entirely, Defendant Blank reversed Plaintiff’s expulsion and readmitted

Plaintiff to the University on August 21, 2019. Compl. ¶ 209. The University statement announcing

Plaintiff’s readmission expressly noted that the information that was relied upon in making the

decision to readmit Plaintiff was the same evidence that the University knew existed and could

have had if the University had stayed the proceedings, as Plaintiff had repeatedly requested (and

as they knew directly from Taffora’s conversations with the District Attorney). Id. However, the

statement also asserted that “there were findings of responsibility of the student non-academic

misconduct code that were upheld,” without specifying what was reversed or what was upheld. Id.

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       Because of the University’s wrongful findings and expulsion, based on a knowing and

deliberate refusal to wait for exculpatory evidence or even attempt to question the female

Complainants’ credibility, Plaintiff was removed from the football team for almost eight months,

severely impacting his ability to develop his skills and be in top shape for the professional

recruiting season that would follow. Moreover, even though he was acquitted in his criminal trial,

the University’s false and wrongful initial findings and expulsion, and its deliberately vague

readmission statement asserting that Plaintiff was still responsible for violations, severely tainted

Plaintiff’s reputation and created hesitation in the NFL to draft him. As a result, even though

Plaintiff did ultimately re-join the football team and was drafted to the NFL, he was drafted many

rounds later than scouts had initially predicted, resulting in a material loss of salary and potential

lifetime earnings. Compl. ¶¶ 213-216.

                                           ARGUMENT

I.     LEGAL STANDARD

       Federal Rule of Civil Procedure 8(a) requires simply that a Complaint contain “a short and

plain statement of the claim showing that the pleader is entitled to relief.” “To state a plausible

claim, a plaintiff is not . . . required to plead specific facts or details.” Mondovi Dairy Sys., Inc.

Emp. Benefit Plan v. Blue Cross Blue Shield of Wisconsin, No. 15-CV-826-JPS, 2016 WL 109965,

at *3 (E.D. Wis. Jan. 8, 2016) (citing Erickson v. Pardus, 551 U.S. 89, 93 (2007). Rather, a

Complaint need only “give the defendant fair notice of what the ... claim is and the grounds upon

which it rests.” E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007) (citing




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Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)). Notice-pleading “does not impose a probability

requirement” on the plaintiff. Alam v. Miller Brewing Co., 709 F.3d 662, 666 (7th Cir. 2013).

       On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), the moving

party bears the burden of showing that no claim has been stated. Marcure v. Lynn, 992 F.3d 625,

631 (7th Cir. 2021). In reviewing the motion, “the district court must accept as true all well-pleaded

factual allegations and draw reasonable inferences in favor of the plaintiff.” Capitol Leasing Co.

v. F.D.I.C., 999 F.2d 188, 191 (7th Cir. 1993). In that regard, “a well-pleaded complaint may

proceed even if it strikes a savvy judge that actual proof of those facts is improbable, and that a

recovery is very remote and unlikely.” Alam, 709 F.3d at 666 (quoting Twombly, 550 U.S. at 556).

“A complaint may not be dismissed unless it is impossible to prevail ‘under any set of facts that

could be proved consistent with the allegations.” Forseth v. Vill. of Sussex, 199 F.3d 363, 368 (7th

Cir. 2000) (quoting Albiero v. City of Kankakee, 122 F.3d 417, 419 (7th Cir.1997)). Even where

“the facts a plaintiff alleges in a complaint may turn out to be self-serving and untrue,” a court at

the motion-to-dismiss stage “is not engaged in an effort to determine the true facts.” Doe v.

Columbia Univ., 831 F.3d 46, 48 (2d Cir. 2016). “If the complaint is found sufficient to state a

legal claim, the opposing party will then have ample opportunity to contest the truth of the

plaintiff's allegations and to offer its own version” through discovery. Ibid.

        To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

complaint must contain sufficient factual matter, accepted as true, to “state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim demonstrates facial

plausibility “when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. In assessing a motion to

dismiss under Rule 12(b)(6), the Court must “constru[e] the complaint in the light most favorable



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to the plaintiffs, accepting as true all well-pleaded facts, and drawing reasonable inferences in the

plaintiffs' favor.” McReynolds v. Merrill Lynch & Co., 694 F.3d 873, 879 (7th Cir. 2012). Thus,

the court’s “task is not to determine what allegations are supported by the evidence but to

determine whether [Plaintiff] is entitled to relief if everything that he says is true.” Doe v. Purdue

Univ., 928 F.3d 652, 656 (7th Cir. 2019). In the instant case, accepting the allegations in the

Complaint as true and construing them in the light most favorable to Plaintiff, as this court must,

he has plausibly alleged each cause of action. Defendants’ motion should be denied.

II.    PLAINTIFF SUFFICIENTLY ALLEGES A TITLE IX CLAIM

       Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, provides: “No person

in the United States shall, on the basis of sex, be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance . . . .” Title IX may be violated by the imposition of university

discipline where gender was a motivating factor. In order to state a claim under Title IX, the

Plaintiff’s allegations need simply to “raise a plausible inference that the university discriminated

against him “on the basis of sex.” Doe v. Purdue Univ., 928 F.3d 652, 668 (7th Cir. 2019). 1

       As courts in the Seventh Circuit have acknowledged, “[s]uch allegations might include,

inter alia, statements by members of the disciplinary tribunal, statements by pertinent university

officials, or patterns of decision-making that also tend to show the influence of gender.” Doe v.



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  While several different types/theories of Title IX claim have developed through the case law in
other jurisdictions over the years, such as “erroneous outcome” and “selective enforcement”, the
Seventh Circuit recently rejected the notion of “superimpose[ing] doctrinal tests on the statute,”
holding that “All of these categories simply describe ways in which a plaintiff might show that sex
was a motivating factor in a university's decision to discipline a student.” Purdue, 928 F.3d at 667.
Defendants devote much of their brief to arguing that Plaintiff has failed to allege an “erroneous
outcome” claim and analyzing cases addressing that doctrinal test. Moving Br. at 29. However,
Plaintiff has not alleged erroneous outcome here, and Defendants’ entire argument to that effect is
a red herring.
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Columbia Coll. Chicago, 299 F. Supp. 3d 939, 953 (N.D. Ill. 2017), aff'd, 933 F.3d 849 (7th Cir.

2019). Gender bias may also be inferred where an adjudicator possesses “outdated and

discriminatory views of gender and sexuality.” Doe v. Marymount U., 297 F. Supp. 3d 573, 586

(E.D. Va. Mar. 14, 2018). In Purdue, the Seventh Circuit held that where the plaintiff alleged

pressure on the school to aggressively pursue sexual misconduct claims against men, coupled with

evidence of procedural flaws and unsupported, biased decision-making in his specific disciplinary

process, those allegations collectively sufficed to state a claim for relief. Doe v. Purdue Univ., 928

F.3d at 670.

       In this case, Plaintiff sufficiently and plausibly alleges that he was discriminated against

by UW-Madison on the basis of sex. Specifically, he alleges: (i) UW-Madison was under pressure

from both the federal government and the student body to aggressively pursue sexual assault

claims made by women against men, and to protect female students from male students (Compl. ¶

283); (ii) UW-Madison officials publicly embraced and perpetuated gender stereotypes that

women are victims of sexual assault and men are perpetrators (Id.); (iii) Defendants violated UW-

Madison policy in a way that consistently favored the female complainants and prejudiced Plaintiff

as the male accused (Compl. ¶ 285); (iv) Defendants took the female students’ claims at face value

and made no effort to question their credibility – to the contrary, UW-Madison constructed its

“investigation” and adjudication in a way designed to support and bolster the female students’

claims and railroad Plaintiff (such as showing Complainant 2 Complainant 1’s statement and

asking her to confirm it, rather than interviewing Complainant 2 and assessing the consistency of

their stories) (Compl. ¶ 283); (v) UW-Madison knew that there was relevant, exculpatory evidence

that would be available at the close of Plaintiff’s criminal trial but refused to wait and deliberately

plowed forward on a one-sided and deficient record in order to find Plaintiff responsible and prove



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its dedication to protecting female students on campus (Compl. ¶ 282); and (vi) Plaintiff was

actually innocent, as demonstrated by the exculpatory evidence that eventually resulted in his

readmission (Id.). Plaintiff amply alleges a Title IX violation and Defendants’ motion should be

denied.

          In their brief, Defendants misleadingly and dishonestly cherry-pick from Plaintiff’s

allegations and mischaracterize many of the claims in an attempt to escape the reality that Plaintiff

plausibly alleges gender bias in accordance with relevant precedent. By way of example,

Defendants attempt to isolate the alleged facts in the Complaint and then claim that each one

standing alone is insufficient to allege gender bias. This effort to isolate and mischaracterize

Plaintiff’s allegations is fundamentally flawed: Plaintiff’s allegations cannot be taken in a

piecemeal fashion, but rather, must be taken as a whole. Moreover, the Complaint must be

evaluated based on the actual allegations as written, which are presumed to be true and interpreted

in the light most favorable to Plaintiff—not based on Defendants’ distorted and factually

inaccurate interpretations of the allegations. Taken in its entirety, Plaintiff’s Complaint more than

satisfies the Seventh Circuit standard for stating a plausible Title IX claim.

          A.     The investigation was skewed against Plaintiff as a male accused and
                 in favor of the female accusers, despite Plaintiff’s actual innocence

          As courts routinely recognize, a plaintiff may cast articulable doubt on the outcome of a

university sexual misconduct proceeding in a number of ways, including but not limited to:

pointing out procedural flaws in the investigatory and adjudicative process; noting inconsistencies

or errors in the adjudicator’s oral or written findings; or challenging the overall sufficiency and

reliability of the evidence. Doe v. Marymount U., 297 F. Supp. 3d at 584; Yusuf v. Vassar College,

35 F.3d 709, 715 (2d Cir. 1994). A university’s denial of the opportunity for cross-examination in




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a case where credibility is at stake is also a fact sufficient to cast articulable doubt on the accuracy

of the outcome. Doe v. Baum, 903 F.3d 575, 585-586 (6th Cir. 2018).

        Defendants incredibly attempt to claim that the only fact Plaintiff alleged casting doubt on

UW-Madison’s findings was the fact that he was precluded from testifying at the disciplinary

proceedings pending the outcome of the criminal trial, stating “[e]ven if this fact alone was

sufficient to cast doubt on the accuracy of the initial findings…” (emphasis added). However, it is

clear that Plaintiff sets forth a myriad of both procedural and substantive flaws which cast doubt

on the accuracy of UW-Madison’s decision finding him responsible for sexual assault. By way of

example, and not limitation: (i) deeming the Complainants’ stories as credible from the beginning

and failing to ask adequate questions going to credibility; (ii) giving more weight to the

Complainants’ stories in the final analysis and finding of responsibility; (iii) relying on

inconsistent, hearsay statements from the Complainants; (iv) asking Complainant 2 to corroborate

Complainant 1’s initial statement instead of asking Complainant 2 for her own statement; (v)

failing to take into consideration the timing of the complaint and motivations of the Complainants

to make false statements; (vi) only collecting evidence which the Complainants deemed

significant, allowing Complainants to cherry-pick evidence to submit, and failing to independently

seek out relevant evidence; (vii) failing to apply the presumption of innocence, and instead,

presuming Plaintiff guilty from the start; (viii) drawing adverse conclusions against Plaintiff for

not testifying at the hearing, while not drawing adverse conclusions against Complainants for

failing to hand over relevant evidence; (ix) including the one-sided Criminal Court Complaint in

the Final Investigative Report, while not including Plaintiff’s motion to dismiss; (x) complying

with the Complainants’ wishes in scheduling a hearing date, thereby denying Plaintiff of the

advisor of his choice; (xi) Hasselbacher’s clear conflict of interest; (xii) failing to interview



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Plaintiff for four months, despite having spoken to the Complainants; and (xiii) the Chairperson’s

refusal to permit Plaintiff’s advisor to cross-examine the Complainants at the hearing, instead

forcing Plaintiff to submit his proposed questions and then manipulating them in ways that changes

the meaning and purpose of the questions and clearly indicated to Complainants the best way to

answer to support their (false) claims. Compl. ¶ 282. And of course, UW-Madison’s own reversal

of Plaintiff’s sanction and some of the findings makes it quite evident that UW-Madison reached

the wrong outcome in the fist place, and not only that, but acknowledged that its original outcome

was not correct. Compl. ¶ 209. Defendants’ attempt in their moving papers to claim that Plaintiff

did not sufficiently allege a wrongful finding, when UW-Madison itself acknowledged that the

original findings were wrongful, is nothing short of absurd.

       Defendants also assert that “the initial outcome of the disciplinary hearing can only be

attributed to [Plaintiff’s] conscious decision not to provide testimony or evidence.” Moving Br.

at 30. As an initial matter, Defendants improperly attempt to assert facts not in the pleadings by

assuming that Plaintiff even had possession of evidence that could have been provided to the

University prior to the close of the investigation, which is a false statement. See Declaration of

Quintez Cephus, dated June 4, 2021, enclosed herewith (“Cephus Decl.”) ¶ 16. At the motion to

dismiss stage, such an argument is unavailing. Moreover, by making this argument, Defendants

again admit that the initial outcome was erroneous. While Defendants state numerous times that

Defendant has “pled himself out of court,” Defendants themselves cannot even sidestep their own

wrongdoings. By overturning the initial expulsion and reinstating Plaintiff as a student at the

University, Defendants themselves admitted that their flawed investigation and proceedings

resulting in a wrongful, erroneous finding of responsibility.




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       Additionally, Defendants claim that Plaintiff’s allegations regarding Defendant

Hasselbacher, the lead investigator on Plaintiff’s case, serving as a women’s advocate is

immaterial. In the same breath, Defendants claim that Plaintiff pleads no facts demonstrating

gender bias “in his specific case.” Defendants miss the mark completely. In his Complaint, Plaintiff

alleges that Hasselbacher (i) had a dual role, which included ensuring that the University was Title

IX compliant; and (ii) had a background in Women’s Studies and extensive career experience as

an advocate for female victims of sexual assault and domestic violence. Hasselbacher’s past

experience, combined with her motivation to accept as true any complaints brought by female

students as UW-Madison’s Title IX Coordinator, caused her to view the evidence through a

gender-biased lens.

       As alleged in the Complaint, gender bias can be inferred from the actions of Hasselbacher

during the investigation, including, but not limited to: (i) Hasselbacher immediately issued a no

contact order between Plaintiff and the Complainants after receiving the allegations from

Complainant 1’s father and before speaking to the Complainants or notifying Plaintiff of the

allegations against him (Compl. ¶¶ 131-134); (ii) Hasselbacher waited five weeks after receiving

the allegations to notify the Plaintiff (Compl. ¶ 138); Hasselbacher failed to collect individual

statements from the Complainants prior to issuing the notice of charge, but rather only showed

Complainant 2 the statement written by Complainant 1 and asked her to “confirm the accuracy of

the statement” (Compl. ¶ 137); (iii) Hasselbacher refused to acknowledge the fact that there would

be critical exculpatory evidence available to her at the close of the criminal matter and refused to

stay the proceedings until such evidence became available (Compl. ¶¶ 144-147); (iv) when she did

proceed forward with the investigation, Hasselbacher waited nearly four months to interview

Plaintiff, treating his testimony as a mere afterthought compared to those of the female



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Complainants (Compl. ¶ 160); (v) Hasselbacher allowed the Complainants to cherry-pick what

evidence and text messages to hand over and failed to question the Complainants regarding the

text messages that were clearly missing; and (vi) Hasselbacher chose to include the one-sided

Criminal Complaint Form in the Final Investigative Report but refused to include Plaintiff’s

Motion to Dismiss the Criminal Complaint as well. Compl. ¶¶ 172-174.

        Defendants attempt to minimize Hasselbacher’s background, but the fact of the matter is

that throughout the investigation, Hasselbacher’s actions were tainted by her background as a

women’s advocate, and her experience precluded her from conducting an adequate, impartial

investigation. Instead, Plaintiff was presumed guilty from the start as a male accused.

Hasselbacher’s conflict of interest was therefore far from merely being “pro-victim” and instead

favored the female complainants from inception of the complaint. Accordingly, Hasselbacher’s

background as a women’s advocate contributed to a gender-biased investigation and a wrongful

finding of responsibility. See Doe v. Syracuse, 2019 WL 2021026 at 7-8 (N.D.N.Y. May 8, 2019).

        Contrary to Defendants’ assertion, there is more at issue here than Plaintiff’s single

contention that he was not able to speak at the university disciplinary hearing in light of the parallel

criminal trial. As set forth above, there were numerous alleged flaws in the investigation and

adjudication that Defendants again choose to ignore in an attempt to mislead the Court and misstate

the allegations in the Complaint. Given the multitude of allegations set forth in the Complaint,

Plaintiff has satisfied if not exceeded showing an articulable doubt in the outcome of the

proceeding.

        B.      Defendants’ gender-biased statements and endorsements

        Throughout their brief, Defendants ignore huge swaths of Plaintiff’s detailed factual

allegations and instead focus on a small number of self-serving claims in an attempt to mislead the



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Court. However, Defendants cannot merely choose the allegations that suit them and demand

dismissal by ignoring the rest of the substance of the pleadings.

       In reality, Plaintiff’s Complaint sets forth numerous gender biased statements made and/or

condoned by Defendants, including but not limited to: (i) UW-Madison Police Department’s

campus-wide “Don’t Be That Guy” campaign, painting males, and only males, as perpetrators of

sexual assault (Compl. ¶ 72); (ii) Defendant Blank’s public support and endorsement of the “Don’t

Be That Guy” campaign in the Task Force Report (Compl. ¶ 73); (iii) UW-Madison’s sexual

misconduct training which featured “re-enactment” videos that portrayed only males as

perpetrators of sexual assault (Compl. ¶ 79); (iv) Defendant Blank’s statement in the Task Force

Report in the recommendations section, which stated, “Addressing potential perpetrators must

remain a priority. Continue to engage men as allies to prevent gender-based violence.” (Compl. ¶

73) (v) statements from Sam Johnson, the head of the UW-Madison violence prevention program,

indicating that males are the perpetrators of sexual assault (Compl. ¶ 89); and (vi) UW-Madison’s

formation of a six-week educational program for males only, to understand their masculinity in

order to prevent sexual violence (Compl. ¶ 90).

       These are precisely the type of statements by “pertinent” university officials that support a

claim of gender bias. Doe v. Columbia Coll. Chicago, 299 F. Supp. 3d 939, 953 (N.D. Ill. 2017),

aff'd, 933 F.3d 849 (7th Cir. 2019); see also Yusuf v. Vassar College, 35 F.3d at 715. Moreover,

these statements embracing and endorsing gender bias and gender-based views on complainants

and respondents were made by UW employees who were directly involved in Plaintiff’s specific

case. For example, Defendant Blank decided Plaintiff’s appeal. (Compl. ¶ 199). Blank condoned

the notions that males are the perpetrators of sexual assault and have to be educated as to how to

prevent sexual misconduct and violence, and even explicitly recommended that males be the target



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of such sexual misconduct training. From Defendant Blank’s statements and actions, as well as the

trainings and campaigns across campus, it can be reasonably inferred that the procedures put in

place were effectuated with a gender-biased motive against male respondents and that Plaintiff’s

case specifically was infected by gender bias.

       C.      UW Was Under Pressure to Favor and Protect Female Students and
               Aggressively Prosecute and Punish Male Students.

       Evidence that a college has been placed under federal investigation, severely criticized for

its failure to protect female sexual assault victims and is under pressure to correct its perceived

tolerance of the sexual assault of female students by over-correcting, provides a “backdrop” for

gender bias. Baum, 903 F.3d at 586-587 (external pressure combined with hearing board’s

credibility determinations in favor of females raised plausible inference of gender bias); see also

Neal v. Colorado State Univ.-Pueblo, No. 16-CV-873 (RM) (CBS), 2017 WL 633045, at *12 (D.

Colo. Feb. 16, 2017) (allegations that university under OCR pressure to enforce “Dear Colleague

Letter” in a gender-skewed manner sufficient to plead gender bias); Doe v. Miami U., 882 F.3d

579, 592-93 (6th Cir. 2017) (plausible inference of gender bias where inter alia university faced

pressure to zealously “prosecute” male respondents after facing lawsuit by female student);

Columbia U., 831 F.3d at 58 (gender bias inferred where university was motivated to accept female

accusation of sexual assault and reject male’s claim of consent to avoid further public criticism

that it did not protect female students). As detailed below, taking the allegations of the Complaint

as true, and drawing all reasonable inferences in Plaintiff’s favor, the totality of the circumstances

alleged in the Complaint raise a plausible inference that the outcome of Plaintiff’s disciplinary

proceeding was motivated by gender bias. See Doe v. Washington & Lee U., 2015 WL 4647996 at

*10 (W.D. Va. Aug. 5, 2015).




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       As stated by the Seventh Circuit, the 2011 DCL “provides a backdrop, that, when combined

with other circumstantial evidence of bias in Doe's specific proceeding, gives rise to a plausible

claim.” Doe v. Purdue Univ., 928 F.3d at 669). Likewise, Plaintiff’s Complaint describes in great

detail how the 2011 DCL effectively required colleges and universities, including UW-Madison,

through the threat of cutting off federal funding, to adopt disciplinary procedures for sexual

misconduct allegations that minimized the rights of respondents and focused on victim advocacy,

specifically addressing the need to protect women and girls. (Compl. ¶¶ 24-50). In the Complaint,

Plaintiff alleges that: (i) the 2011 DCL sounded a “call to action” grounded in the unfounded

statistic that 1 in 5 women are victims of completed or attempted sexual assault while in college

(Compl. ¶ 27); (ii) relying on this false statistic, the DCL minimized due process protections for

the accused (Compl. ¶ 28); and (iii) the White House subsequently issued a report that also relied

on the false statistic and focused on protecting women from sexual assault (Id.). These are the very

same type of allegations that the Seventh Circuit found relevant and supportive of gender bias in

Purdue.

       Defendants rely heavily on the Seventh Circuit decision in Johnson v. Marian Univ., 829

F. App'x 731 (7th Cir. 2020); however, that case is clearly distinguishable. First, Johnson was not

decided on a motion to dismiss, but rather occurred at the summary judgment stage of the

proceedings. Moreover, the court in Johnson explicitly stated that it had acknowledged that “this

sort of background can be relevant for assessing Title IX sex discrimination claims.” Johnson v.

Marian Univ., 829 F. App'x at 732. Defendants cite the fact that a plaintiff “cannot rely on such

generalized information alone,” and attempt to claim that such is the case here. By doing so,

Defendants attempt to manipulate the information before the Court. Plaintiff does not rely only on

the DCL or threat of losing funds, but rather, uses it as support for Plaintiff’s Title IX claim in a



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section clearly entitled “background” in addition to Plaintiff’s myriad particularized allegations.

These are precisely the types of allegations found sufficient to state a Title IX claim in by the

Seventh Circuit in Purdue.

        Defendants’ assertion that Plaintiff’s use of the DCL to support an inference of gender bias

has been “flat out rejected” is a misstatement of the law – in fact, the opposite is true. Accordingly,

Defendants’ argument regarding the 2011 DCL fails.

        By way of further background and evidence of UW-Madison’s motive to skew the

disciplinary process in favor of women and against men, Plaintiff also alleges that: (i) four female

students filed separate OCR complaints against UW-Madison from 2015 to 2016 claiming that the

University failed to adequately respond to their allegations of sexual misconduct against a male

student (Compl. ¶ 47); (ii) while the OCR investigations were underway in 2016, OCR

investigators attended on-campus events and directly engaged with students to assess the

University’s compliance and consequently assess the University’s eligibility for federal funding

(Compl. ¶ 49); and (iii) at least three of the OCR investigations remain pending to date (Compl. ¶

50).

        Plaintiff further alleges: (i) throughout 2015 and 2016, student advocacy groups criticized

the University for a “lack of follow-through” on complaints of sexual assault and called for

increased expulsions for perpetrators of sexual assault (Compl. ¶ 76); (ii) in response, the

University implemented an online training, which raised awareness for men especially to take steps

in preventing sexual assault (Compl. ¶¶ 78-79); (iii) Only after immense female student outrage

and newly implemented training focused on men did the University hire Hasselbacher as its Title

IX Coordinator in 2017 (Compl. ¶ 83); and (iv) the UW Police launched a campaign aimed at male

students called “Don’t Be That Guy” to raise awareness surrounding sexual assault.



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       The allegations set forth above clearly allege that UW-Madison was pressured to take an

aggressive stance against males accused of sexual misconduct in order to avoid a potential loss of

federal funding or prosecution and repair its reputation for failing to adequately respond to

allegations of sexual assault against males. As further alleged in the Complaint, Plaintiff was used

as a scapegoat by the University to demonstrate in a high-profile way its commitment to

aggressively pursuing allegations of sexual assault against males. Compl. ¶ 1.

       These precise types of allegations have been held sufficient to preclude dismissal under

Rule 12. As the Second Circuit has made abundantly clear,

               [W]hen combined with clear procedural irregularities in a
               university's response to allegations of sexual misconduct, even
               minimal evidence of pressure on the university to act based on
               invidious stereotypes will permit a plausible inference of sex
               discrimination.... [W]here a university (1) takes an adverse action
               against a student or employee, (2) in response to allegations of
               sexual misconduct, (3) following a clearly irregular investigative or
               adjudicative process, (4) amid criticism for reacting inadequately to
               allegations of sexual misconduct by members of one sex, these
               circumstances provide the requisite support for a prima facie case of
               sex discrimination.

Menaker v. Hofstra Univ., 935 F.3d 20, 33 (2d Cir. 2019); See also, e.g., Columbia, 831 F.3d at

57 ("[I]t is entirely plausible that the University's decision-makers and its investigator were

motivated to favor the accusing female over the accused male, so as to protect themselves and the

University from accusations that they had failed to protect female students from sexual assault.");

Miami Univ., 882 F.3d at 593 (allegations "showing a potential pattern of gender-based decision-

making"); Collick v. William Paterson Univ., No. 16-471 (KM) (JBC), 2016 WL 6824374, at *12

(D.N.J. Nov. 17, 2016), adhered to on denial of reconsideration, No. CV 16-471 (KM) (JBC),

2017 WL 1508177 (D.N.J. Apr. 25, 2017), and aff'd in part, remanded in part, 699 F. App'x 129

(3d Cir. 2017) ("[I]t is no more than a commonsense inference that the public's and the



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policymakers' attention to the issue of campus sexual assault may have caused a university to

believe it was in the spotlight."); Noakes v. Syracuse Univ., 369 F. Supp. 3d 397, 416 (N.D.N.Y.

2019) ("[A] reasonable inference could be drawn that the Investigator, the University Conduct

Board, the Appeals Board, and other University officials were motivated to appease OCR by siding

with Roe ... ."); Doe v. Rollins Coll., 352 F. Supp. 3d 1205, 1210-11 (M.D. Fla. 2019)

(investigation "amidst a clamor of public and campus scrutiny over its treatment of sexual assault

complaints by female students" created "circumstantial evidence of bias"); Doe v. Amherst Coll.,

238 ~.Supp.3d 195, 223 (D. Mass. 2017) (allegations that university was trying to "appease" a

biased, student-led movement); Doe v. Lynn Univ., Inc., 235 F.Supp.3d 1336, 1340-42 (S.D. Fla.

2017) (allegations that university was reacting to "pressure from the public and the parents of

female students" to punish males); Neal v. Colorado State Univ.-Pueblo, 2017 WL 633045, at *14

(D. Colo. Feb. 16, 2017) (allegations of "gender-skewed implementation of the 2011 DCL,

pressure to avoid DOE investigation and loss of federal funding, procedural shortcomings," and

Title IX employee bias); Doe v. Washington & Lee Univ., No. 14-CV-00052, 2015 WL 4647996,

at *10 (W.D. Va. Aug. 5, 2015) (allegations that university's disciplinary procedures amount to "a

practice of railroading accused students," combined with pressure from the OCR and involvement

of potentially biased employee in disciplinary process); Wells v. Xavier Univ., 7 F.Supp.3d 746,

751 (S.D. Ohio 2014) (allegations suggested that university was "reacting against him[ ] as a male"

in response to a Department of Education investigation).

       D.      Defendants employed a gender biased, trauma-informed approach

       Defendants also attack Plaintiff’s allegation that the University employed a trauma-

informed approach throughout the investigation and adjudication of the claims against Plaintiff,

asserting that it falls under the umbrella of “pro-victim” bias, but not gender bias. However,



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Defendants cite virtually no supporting case law for their assertion. Moving Br. at 32-33. To the

contrary, many courts have recognized trauma-informed approaches to investigations give rise to

an inference of gender bias. See; Norris v. Univ. of Colorado, Boulder, 362 F. Supp. 3d 1001, 1013

(D. Colo. 2019) at 1013; Doe v. Syracuse Univ., No. 5:19-CV-1467 (TJM) (ATB), 2020 WL

2513691, at *9 (N.D.N.Y. May 15, 2020).

        Defendants’ argument that their actions were, if anything, pro-victim rather than pro-

female, is unavailing. First, if the procedures have a pro-victim bias, they are not neutral and

impartial; second, the repeated presumption at UW-Madison, as pleaded in Plaintiff’s Complaint,

is that females are the “victims” and males are the “perpetrators.” (Compl. ¶ 79). As such,

Defendants’ victim-centered process is, in reality, biased against males and in favor of females.

Moreover, Defendants’ distinction between pro-victim and pro-female bias is nothing more than a

hypothesis, which requires this court to view the facts in the light least favorable to Plaintiff; to

wit, the Defendants are essentially conceding that there was evidence of bias but asking this court

to conclude that the bias was based upon a permissible, non-protected class rather than a protected

class. That is not the standard on a Rule 12 motion. Further, while some courts have, in the past,

embraced this unfounded argument, its continued viability is highly questionable. See e.g. Doe v.

Univ. of Colorado, Boulder through Bd. of Regents of Univ. of Colorado, 255 F. Supp. 3d 1064,

1076 (D. Colo. 2017) (“if enforcement officials are regularly presented with a scenario involving

the same two potential classifications—nurse and female, taxi driver and ethnic minority, sexual

assault suspect and male—there must come a point when one may plausibly infer that stereotypes

about the protected classification (such as gender or ethnicity) have begun to infect the

enforcement process generally.”). Moreover, the continued viability of the “anti-respondent, but

not anti-male” “distinction” is dead in the water in light of the recently revised Title IX regulations,



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which expressly prohibit bias in favor of “complainants” generally as such is considered by the

Department of Education to be indicative of gender-bias.           See 34 C.F.R. § 106.45(b)(8)

(prohibiting the “decision-maker” from having “a conflict of interest or bias for or against

complainants or respondents generally”).

        Defendants cite Johnson for the proposition that a trauma-informed approach demonstrates

a pro-victim bias, but not gender bias. Moving Br. at 33. However, Defendants’ argument is

inapposite. Johnson at no point discussed a trauma-informed approach to the investigation, but

rather merely dealt with specific statements made by a university official that used the word

“violation” rather than “allegation” when discussing the allegations with the respondent. Johnson

v. Marian Univ., 829 F. App'x 731, 733 (7th Cir. 2020). Defendants once again fail to support their

argument with adequate case law, failing to meet their burden and mandating denial of their

motion.

III.    PLAINTIFF PLAUSIBLY ALLEGES A STIGMA-PLUS
        DUE PROCESS VIOLATION

        To state a stigma-plus claim, a plaintiff must show “that the state inflicted reputational

damage accompanied by an alteration in legal status that deprived him of a right he previously

held,” without due process of law. Doe v. Purdue Univ., 928 F.3d at 661. “[W]hen a state actor

casts doubt on an individual's ‘good name, reputation, honor or integrity,’” and such reputational

harm impeded the individual’s “liberty interest to pursue the occupation of his choice.” that

plaintiff has a stigma-plus claim. Dupuy v. Samuels, 397 F.3d 493, 503 (7th Cir. 2005) (quoting

Townsend v. Vallas,256 F.3d 661, 669 (7th Cir. 2001).

        In Purdue, the Seventh Circuit held that the plaintiff student sufficiently stated a stigma-

plus claim when he alleged that he was wrongfully found responsible for sexual misconduct,

expelled from school, and the school disclosed its finding to the ROTC, thereby impacting his

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ability to pursue a career in the navy. Purdue, 928 F.3d at 662–63 (“After conducting an

adjudicatory proceeding, Purdue formally determined that John was guilty of a sexual offense.

That determination changed John's status: he went from a full-time student in good standing to one

suspended for an academic year. And it was this official determination of guilt . . . that allegedly

deprived John of occupational liberty. It caused his expulsion from the Navy ROTC program (with

the accompanying loss of scholarship) and foreclosed the possibility of his re-enrollment in it. John

has satisfied the ‘stigma plus’ test.” (citations omitted)).

        In the instant case, Plaintiff alleges that he was wrongfully found responsible for sexual

assault, expelled from UW-Madison without due process, and that such expulsion and the

University’s subsequent public statements affirming that Plaintiff was responsible for sexual

misconduct even after being readmitted, collectively deprived him of his liberty interest in his

good name, reputation, and career. Compl. ¶ 243. In accordance with Seventh Circuit precedent,

this is sufficient to state a claim for relief.

        Contrary to Defendants’ assertions, Plaintiff has sufficiently alleged a due process

violation. Defendants spend a considerable amount of time mischaracterizing Plaintiff’s claims

and arguing against a procedural due process claim that Plaintiff never made. Instead, Plaintiff’s

claim falls under, and satisfies, the “stigma plus” test.

        A.       Defendants Expelled Plaintiff Without Due Process.

        As a result of UW-Madison’s investigation, Plaintiff faced severe sanctions, including

expulsion, and was, therefore, entitled to heightened due process protections. Disciplinary

proceedings require more stringent procedures because, unlike academic proceedings that involve

qualitative evaluations, disciplinary proceedings “bear a reasonable resemblance to traditional

judicial and administrative factfinding.” Allahverdi v. Regents of University of New Mexico, 2006



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WL 131380 at *14 (D.N.M. Apr. 25, 2006). See also Neal, 2017 WL 633045 at **24 (“Due process

for disciplinary proceedings is more extensive than for academic decisions”).

       Procedural due process requires, at a minimum, notice and an opportunity to be heard.

Matthews v. Eldridge, 424 U.S. 319, 348 (1976). Whether or not due process has been afforded

depends on the facts and circumstances of the particular case. “Higher courts consistently

admonish that due process jurisprudence cannot be applied woodenly.” Neal, 2017 WL 633045 at

**25 (D. Co. Feb. 16, 2017) (collecting cases). Whether the State has provided sufficient

procedures is determined by balancing the competing interests involved: (i) the private interest

affected by the official action; (ii) the risk of erroneous deprivation of such interest through the

procedures used, and the probable value, if any, of additional or substitute procedural safeguards;

and (iii) the State’s interest including any fiscal and administrative burden. Mann v. Vogel, 707

F.3d 872, 879 (7th Cir. 2013). Defendants do not address these factors in their motion to dismiss

and as such they fail to meet their burden.

       Where, as here, a plaintiff faces disciplinary action that carries significant long-term

consequences—such as suspension or expulsion—then his private interest is “exceptionally

robust” compared to the burden on the State in providing adequate due process protections. Neal,

2017 WL 633045 at **19-20. Here, as a result of being accused of sexual misconduct, Plaintiff

faced the possibility of a long-term suspension or expulsion as an outcome of the University’s

investigation. In fact, Plaintiff was expelled from the University and suffered a change in legal

status as a result. See Doe v. Purdue Univ., 928 F.3d 652, 662 (7th Cir. 2019). For these reasons,

Plaintiff had an “exceptionally robust” interest, as compared to the University’s, which warranted

heightened due process protections.




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      Plaintiff alleges that his right to due process was violated when:

                a. Defendants denied Plaintiff a meaningful opportunity to be heard, as
                   Hasselbacher deliberately waited until Plaintiff was hamstrung by the parallel
                   criminal investigation to invite him for an interview;


                b. Defendants denied Plaintiff an opportunity to be heard by refusing to stay the
                   hearing in light of the pending parallel criminal prosecution, essentially
                   punishing Plaintiff for exercising his Fifth Amendment privilege and forcing
                   him to choose between his Fifth Amendment right and his ability to participate
                   in UW’s process;


                c. Defendants denied Plaintiff a meaningful opportunity to present evidence in his
                   own defense, as they knew that substantial, relevant, exculpatory evidence
                   would be available after the criminal trial, but deliberately forged ahead without
                   this evidence;


                d. Defendants denied Plaintiff a meaningful opportunity to be heard and violated
                   his rights as clearly established by Chapter 17 to have his advisor cross-examine
                   the witnesses at his hearing;


                e. Defendants denied Plaintiff an opportunity to be heard by a neutral arbiter, as
                   the hearing board members went out of their way to rephrase Plaintiff’s
                   proposed cross-examination questions in ways that changed their meaning and
                   were improperly beneficial to Complainants;


                f. Defendants denied Plaintiff an opportunity to be heard by a neutral arbiter, as
                   Dean Cox invited two unidentified individuals to interfere with the decision-
                   making process, ultimately sending the case out for a hearing based on the
                   opinions of undisclosed and potentially biased/conflicted individuals.

Compl. ¶ 266.

       Overall, Defendants deprived Plaintiff of his basic due process rights throughout the

investigation and adjudication of the Complainants’ complaints, including but not limited to, his

right to a fair adjudication, his right to a meaningful opportunity to be heard, his right to be heard




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by an impartial factfinder, to question his accuser, and to challenge the credibility of his accuser

and other adverse witnesses. Id.

       B.      Defendants Disclosed Information That Harmed Plaintiff’s Reputation.

       Contrary to Defendants’ assertion, Defendants did disclose information regarding

Plaintiff’s disciplinary process. “The public-disclosure element requires that the defendant actually

disseminate the stigmatizing comments in a way that would reach potential future employers or

the community at large.” Palka v. Shelton, 623 F.3d 447, 454 (7th Cir. 2010).

       Here, the University published an entire standalone public statement surrounding

Plaintiff’s disciplinary matters on August 19, 2019. The statement explained that Plaintiff’s

expulsion was being lifted, but that there were still findings of the student non-academic

misconduct code that were upheld. This statement was posted online and was emailed to the entire

student population. The statement can still be found online to this day. Through this publication,

the fact that Plaintiff had been found responsible was projected not only to the entire University,

but also to the nation at large. Given the context of the proceedings, the University’s statement and

lack of clarification as to what charges were upheld and what charges were vacated, can be

reasonably understood to lead the public to the conclusion that Plaintiff, despite the lifted

expulsion, had still been found responsible for sexual assault and/or sexual harassment. See

Starobin v. Northridge Lakes Dev. Co., 94 Wis. 2d 1, 10 (1980) (stating that the proper inquiry is

“whether a communication is capable of a defamatory meaning.”).

       Defendants publicly disclosed information to the nation regarding the sexual assault

finding for which Plaintiff was originally expelled. Therefore, Plaintiff has satisfied the disclosure

requirement of the stigma-plus claim.




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        C.      Defendants’ Actions Interfered with Plaintiff’s Liberty to Pursue the Career
                of His Choice

        Defendants claim that because Plaintiff is employed with the National Football League, he

has failed to demonstrate a deprivation of his career interests. However, Defendants in this

argument downplay the millions of dollars that Defendants’ actions caused him. A second-round

draft pick versus a fifth-round draft pick are essentially entirely different careers when it comes to

career earnings. Defendants seek to hide behind the curtain that they readmitted Plaintiff and made

everything better. However, they fail to acknowledge that by the time Plaintiff was back playing

football for the 2019-2020 season, the damage to Plaintiff’s future had already been done.

        The Seventh Circuit has noted that the Defendants’ actions must have “had the effect of

blacklisting the employee from employment in comparable jobs.” Townsend v. Vallas, 256 F.3d

661, 670 (7th Cir. 2001). “In such cases, the employee’s good name, reputation, honor or integrity

must be called into question in a manner that makes it virtually impossible for the employee to

find new employment in his chosen field.” Id.

        The word “virtually” is used as a modifier for the word “impossible.” Defendants seem to

argue that employment conclusively precludes a stigma plus claim. However, if that was the case,

the Court would have merely used the word impossible. According to Merrian-Webster, virtually,

by definition, means “almost entirely; NEARLY.” Virtually, Merriam-Webster Online (emphasis

in original). Clearly, there is a possibility that the Plaintiff will be able to obtain employment, albeit

not necessarily likely. Hence, the fact that Plaintiff did obtain employment does not summarily

preclude Plaintiff’s claim as Defendants appear to suggest.

        Plaintiff, in his Complaint, cites numerous articles about the impact of sexual assault

allegations on the ability of a collegiate athlete to get drafted in the NFL draft. Domestic abuse or

sexual assault allegations, especially uncleared sexual assault allegations as a result of the

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University’s public statement, undoubtedly have the effect of blacklisting the athlete. By way of

example and not limitation, Plaintiff cites articles demonstrating that: (i) a projected third-round

draft pick went undrafted due to sexual assault allegations; (ii) after Sean Oakman’s sexual assault

allegations, regardless of whether the allegations were false or if he was acquitted, “teams still

look at him as a bad apple and nobody really wants that in an organization”; and (iii) one projected

top-15 draft pick went undrafted after being questioned by the police in connection to the murder

of his ex-girlfriend, even though he was not a suspect. Compl. ¶ 233 n.8.

       Accordingly, while Plaintiff was able to obtain employment, it was highly against the odds

and indeed, virtually impossible. Even when Plaintiff did obtain employment, however, it was at

the cost of millions of dollars. But for the University’s wrongful expulsion of Plaintiff, depriving

him of months of practice and games with the football team, and its subsequent public statement

indicating that Plaintiff was still guilty of sexual misconduct, Plaintiff would have been drafted in

an earlier round, and would have had the opportunity to make millions of dollars more. However,

Plaintiff was essentially blacklisted from this opportunity and was drafted in the fifth round, only

due to his extraordinary talent. Plaintiff was deprived of millions of dollars at the hands of UW-

Madison. The University’s wrongful expulsion and dissemination of the allegations and findings

against Plaintiff forced him to be virtually untouchable by NFL scouts and viewed as a “bad apple”

that many teams did not want to associate with due to stigma that sexual assault findings carry.

       D.      The Individual Defendants Are Not Entitled to Qualified Immunity.

       Applying the well-established rule of Ex Parte Young, 209 U.S. 123 (1908)—that the

Eleventh Amendment permits suits against state officers for prospective injunctive relief—the

Eleventh Amendment is no bar to a student’s claim against state university officials for the

vacating of disciplinary records after being found guilty of sexual misconduct through proceedings



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that violated due process. See Doe v. Cummins, 662 F. Appx. 437, 444 (6th Cir. 2016) (“Because

Doe I and Doe II are seeking prospective equitable relief, their claims are not barred by the

Eleventh Amendment. . . . If successful, . . . the individual defendants would merely be compelled

to remove the negative notation from appellants’ disciplinary records that resulted from the

allegedly unconstitutional disciplinary process.”); see also Doe v. Purdue Univ., 928 F.3d 652,

666-67 (7th Cir. 2019) (student found guilty of sexual assault through procedures allegedly

violating due process could sue for an “injunction ordering university officials to expunge the

finding of guilt from his disciplinary record”); Flint v. Dennison, 488 F.3d 816, 825 (9th Cir. 2007)

(negative entries in a student’s university records presented a continuing violation sufficient to

overcome Eleventh Amendment immunity); Shepard v. Irving, 77 F. App’x 615, 620 (4th Cir.

2003) (request to expunge grade from record is not barred by Eleventh Amendment); Doe. v. Univ.

of Colorado, 255 F. Supp. 3d 1064, 1081-82 (D. Colo. 2017) (Eleventh Amendment does not bar

student alleging due process violations in sexual misconduct proceedings from seeking an order

that his “disciplinary record be expunged” and that “any and all records pertaining to the

investigation be destroyed”); Cf. Cannon v. Bernstein, 2013 U.S. Dist. LEXIS 141865 (E.D. Mich.

2013) (inmate’s claim for “expungement of his disciplinary file” was “not barred by the Eleventh

Amendment”); see also MSA Realty Corp. v. State of Ill., 990 F.2d 288, 291 (7th Cir. 1993)

(“Under Young), state officials may be sued in their official capacities for injunctive relief,

although they may not be sued for money damages.”).

       Likewise, the Eleventh Amendment does not bar Plaintiff’s damages claims against the

individual Defendants in their personal capacities. See MSA Realty Corp. v. State of Ill., 990 F.2d

288, 291 (7th Cir. 1993) at 291 (“the federal courts may exercise jurisdiction over suits alleging

violations of federal constitutional or statutory law that are brought against state officials in their



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personal capacities.); see also Kroll v. Bd. of Trustees of Univ. of Illinois, 934 F.2d 904, 907 (7th

Cir. 1991) (“Personal-capacity suits raise no eleventh amendment issues…”). See also Mutter v.

Rodriguez, 700 F. App'x 528, 530 (7th Cir. 2017) (Eleventh Amendment “does not bar suits against

state officials if they are sued in their official capacities for ‘prospective equitable relief’ to remedy

‘ongoing violations of federal law,’ or in their individual capacities for damages under 42 U.S.C.

§ 1983.” (citation omitted)). Thus, Defendants’ Eleventh Amendment arguments must be rejected

in full.

IV.        THERE IS NO BASIS TO DISMISS PLAINTIFF’S STATE LAW
           CLAIMS WITH PREJUDICE

           Defendants argue that Plaintiff’s state law claims are barred because he has not presented

them to the Wisconsin Board of Claims first. Moving Br. at 33. However, the statute cited by

Defendants, Wis. Stat. § 16.007, has no time limit, and as such, Plaintiff can yet bring his state law

claims upon completion of the claim presentation process in accordance with § 775.01. In fact,

Plaintiff has already begun that process. See Declaration of Stuart Bernstein, dated June 7, 2021,

enclosed herewith (“Bernstein Decl.”) ¶ 5. Accordingly, Plaintiff respectfully submits that if this

Court does find the state law claims to be unripe as a result of not completing the claim submission

process set forth in Wis. Stat. § 16.007, the claims should be dismissed without prejudice and with

leave to re-plead upon Plaintiff’s compliance with the statute.

                  Rule 15(a) declares that leave to amend ‘shall be freely given when
                  justice so requires'; this mandate is to be heeded. If the underlying
                  facts or circumstances relied upon by a plaintiff may be a proper
                  subject of relief, he ought to be afforded an opportunity to test his
                  claim on the merits. In the absence of any apparent or declared
                  reason—such as undue delay, bad faith or dilatory motive on the
                  part of the movant, repeated failure to cure deficiencies by
                  amendments previously allowed undue prejudice to the opposing
                  party by virtue of allowance of the amendment, futility of
                  amendment, etc.—the leave sought should, as the rules require, be
                  ‘freely given.’

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Foman v. Davis, 371 U.S. 178, 182, (1962) (citation omitted); see also Runnion ex rel. Runnion v.

Girl Scouts of Greater Chicago & Nw. Indiana, 786 F.3d 510, 522 (7th Cir. 2015).

                                        CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that the Court deny

Defendants’ motion to dismiss the Complaint. Should this Court dismiss any of the claims in the

Complaint, Plaintiff should be granted leave to amend.

Dated: June 7, 2021

                                                    Respectfully submitted,

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